                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                            DOCKET NO.: 5:14CR47-RLV

UNITED STATES OF AMERICA             )
                                     )
            vs.                      )                          ORDER
                                     )
JESSE DANIELS ANDERSON,              )
                  Defendant.         )
___________________________________ )


       This matter is before the Court upon motion of the Defendant seeking transfer from the

Gaston County Jail to the Mecklenburg County Jail pending sentencing and subsequent transition

to the Bureau of Prisons.   (Doc. 52).    Defendant represents his interest in participating in the

substance abuse treatment program offered at the Mecklenburg County Jail.

       Although the United States Attorney’s Office reportedly does not oppose Defendant’s

request, the U.S. Marshal’s Service has expressed reservation and legitimate concern about

facilitating the transfer. The U.S. Marshal’s Service does not ordinarily allow transfer prisoners

from one facility to another based upon a prisoner’s desire to take advantage of a given program

and this Defendant has not presented any information that sets his request apart from that of any

other prisoner. For these reasons, the motion will be denied.

       IT IS THEREFORE, ORDERED that the Defendant’s Motion for Transfer is hereby

DENIED.




                                         Signed: December 8, 2014




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